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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------X
DR. HELEEN MEES,                                                        ORDER TO SHOW CAUSE
                                      Plaintiff,
                   - against -
ELIZABETH L. BUITER,                                                    16-MC-0436 (RRM) (JO)
                                      Defendant.
----------------------------------------------------------X

JAMES ORENSTEIN, Magistrate Judge:

         Plaintiff's counsel is respectfully directed to show cause by April 6, 2016, why the motion,

docket entry 1, should not be made on notice.

         SO ORDERED.

Dated: Brooklyn, New York
       March 29, 2016
                                                                        _       /s/
                                                                        JAMES ORENSTEIN
                                                                        U.S. Magistrate Judge
